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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

CEDRIC FLOWERS AS LIQUIDATOR OF
CHOICE BANK, LTD.,

     Plaintiff,

                 v.                       Civil No. 18-1288 (FAB)

BANCRÉDITO INTERNATIONAL       BANK
CORPORATION,

     Defendant.

BANCRÉDITO INTERNATIONAL       BANK
CORPORATION,

     Interpleader-Plaintiff,

                 v.

CEDRIC FLOWERS AS LIQUIDATOR OF
CHOICE   BANK,   LTD.;   CHOICE
FINANCIAL INTERNATIONAL, LLC,

     Interpleader-Defendants.


                          OPINION AND ORDER

BESOSA, District Judge.

     Plaintiff Cedric Flowers as Liquidator of Choice Bank Ltd.

(hereinafter, “Flowers” or “Choice Bank”) has filed six motions

requesting the following relief:         a preliminary injunction to

withdraw funds held by defendant Bancrédito International Bank

Corporation (“Bancrédito”), dismissal for improper venue pursuant

to Federal Rule of Civil Procedure 12(b)(3), withdrawal of funds

deposited   in    an   account     belonging    to    Choice    Financial
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International (“Choice Financial”), dismissal of the interpleader

complaint, and that the Court deem the motions to withdraw funds

as unopposed.    (Docket Nos. 4, 55, 63, 69, 71 and 72.)             Bancrédito

moves for an order to show cause as to why this action should not

be dismissed for failure to join an indispensable party pursuant

to Federal Rules of Civil Procedure 12(b)(7) and 19.                      (Docket

No. 41.)      For the reasons set forth below, the Court GRANTS

Flowers’ motion to withdraw funds from the accounts belonging to

Choice Bank and Choice Financial.          (Docket No. 55.)       The remaining

motions filed by Choice Bank and Bancrédito are MOOT.                     (Docket

No. 4, 41, 63, 69, 71 and 72.)           Bancrédito’s motion requesting an

order to show cause is also MOOT.           (Docket No. 41.)

I.   Discussion

     This   litigation       concerns    two   direct   deposit     accounts   at

Bancrédito,    each    held    separately      by   Choice   Bank   and   Choice

Financial in the amounts of $12,726,460.80 and $1,642,200.00,

respectively.     (Docket No. 44 at p. 1; Docket No. 59 at p. 2.)

After six months of motion practice, the parties concur that the

funds in both accounts are subject to the control of Choice Bank’s

liquidator.

     A.     The Choice Bank Funds

            Choice    Bank    is   an   international   banking     corporation

organized pursuant to the laws of Belize.             (Docket No. 1 at p. 3.)
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Bancrédito is a corporation organized pursuant to the laws of the

Commonwealth of Puerto Rico, providing correspondent bank services

to foreign financial institutions.          Id. at pp. 3 and 6.

             On December 20, 2017, Choice Bank and Bancrédito entered

into an Institutional Services Agreement and a Correspondent Bank

Agreement (hereinafter, “Choice Bank agreements”).              Id. at p 6.

Pursuant to the Choice Bank agreements, Bancrédito agreed to “hold

[Choice Bank’s] funds on deposit and return those funds upon

demand.”      Id.    In response to an unforeseen liquidity crisis,

Choice     Bank   repeatedly   instructed    Bancrédito    to   transfer   $6

million and €5 million in March and April of 2018.          Id. at pp. 6-9.

Bancrédito refused to do so.         Id.

             On April 11, 2018, Bancrédito provided notice of “its

intention to close Choice Bank’s correspondent bank account.”

(Docket No. 1, Ex. 4 at p. 43.)       The Choice Bank agreements provide

that:

     [Bancrédito] may close [Choice Bank’s account] at any
     time at its sole discretion, by sending the collected
     balance of funds therein to [Choice Bank] within a period
     determined by [Bancrédito] (not to exceed ninety (90)
     days) after [Bancrédito] gives notice of its intent to
     close the account . . . [Choice Bank] agrees and
     acknowledges that as a condition to the closing of an
     Account, [Bancrédito] may require [Choice Bank] to
     execute an Account Closure Form; in its discretion,
     conduct such due diligence procedures as [Bancrédito]
     determines are appropriate and necessary.
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(Docket No. 1, Ex. 4 at p. 3.)        Accordingly, Bancrédito had until

July 10, 2018 to transfer the balance of funds in Choice Bank’s

account.

            On May 11, 2018, Choice Bank commenced this litigation,

setting forth a single cause of action for breach of contract

pursuant to the Puerto Rico Civil Code.            Id.; citing P.R. Laws

Ann. tit. 31, § 2994. 1       Choice Bank also moved for a preliminary

injunction, requesting that the Court enjoin Bancrédito “from any

longer retaining, holding or in any way interfering with the funds

found or deposited [in Choice Bank’s] account.”           (Docket No. 4 at

p. 22.)    Without access to the funds held by Bancrédito, Choice

Bank faced “imminent danger of economic ruin.”           Id. at p. 1.     The

Court set a preliminary injunction hearing for June 24, 2018.

(Docket    No.   31.)    In    the   interim,   Bancrédito    asserted    two

counterclaims against Choice Bank for the collection of monies and

breach of contract.      (Docket No. 29.)

            1.    Liquidator Cedric Flowers

                  Prior to the July 10, 2018 deadline, Bancrédito

requested that Choice Bank identify and provide documentation

regarding the individual or entity authorized to receive the


1 Choice Bank invokes this Court’s diversity jurisdiction, alleging complete
diversity of citizenship among the parties, and that the amount in controversy
exceeds $75,000. Docket No. 1 at p. 5; citing 28 U.S.C. § 1332. The Court is
satisfied that, based on the allegations set forth in the complaint, diversity
jurisdiction exists in this civil action.
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balance of funds in its account.          (Docket No. 41 at p. 2.)      Choice

bank failed to provide Bancrédito with this information.             Id.   On

the final day of the deadline, Flowers contacted Bancrédito in his

capacity as Choice Bank’s liquidator.               Id. at p. 3.     Flowers

provided Bancrédito with documents establishing that the Central

Bank of Belize had revoked Choice Bank’s Unrestricted Class “A”

International Banking License on June 29, 2018.              Id.     Flowers

asserted “full power and authority to perform the functions of

liquidator for [Choice Bank] with the legal rights and duties as

such   under   the   laws   of    Belize.”    Id.     Accordingly,   Flowers

requested that Bancrédito transfer the balance of Choice Bank’s

deposited funds to him.          Id.

                 Bancrédito moved for an order to show cause as to

why this action should not be dismissed for failure to name

Flowers, purportedly an indispensable party.              (Docket No. 41.)

The Court set aside the preliminary injunction hearing pending

resolution of the issues raised by Bancrédito.            (Docket No. 43.)

Bancrédito deposited the balance of Choice Bank’s account with the

Clerk of the Court, an amount totaling $12,726,460.80.               (Dockets

Nos. 43—45, 51 and 54.)

                 On July 17, 2018, the Court granted Flowers’ motion

to substitute Choice Bank as party-plaintiff pursuant to Federal

Rule of Civil Procedure 25.            (Docket No. 49.)   Flowers moved to
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dismiss the counterclaims raised by Bancrédito for improper venue,

contending that “the proper forum for Defendant’s claims is before

[Choice Bank’s] liquidation procedure” in Belize.             (Docket No. 55

at p. 3.)     Alternatively, Flowers requested access to the funds

deposited with the Clerk of the Court.         Id.

     B.     The Choice Financial Funds

            Three months after Choice Bank filed the complaint,

Flowers alleged for the first time that Bancrédito “failed to

consign Choice Financial International’s (“CFI”) funds.”             (Docket

No. 55 at p. 3.)      Flowers claimed that Choice Financial “is a

wholly owned subsidiary of [Choice Bank].”           Id.    As Choice Bank’s

liquidator, Flowers argued, he “ha[d] full control over all [of

Choice Financials’] assets and its disposition.”             Id. at p. 4.

            In 2017, Choice Financial and Bancrédito entered into an

Institutional    Services   Agreement    and    Correspondent      Agreement

(hereinafter, “Choice Financial agreements”).              (Docket No. 59 at

p. 2.)    Choice Financial deposited $3,500,000 in its account at

Bancrédito.     (Docket No. 59, Ex. 4 at p. 1.)        On April 11, 2018,

Bancrédito notified Choice Financial of its intention to close its

account, initiating a due diligence and compliance review.               Id.

The Choice Financial agreements provide that Bancrédito:
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     May close any or all Account(s) of [Choice Financial] at
     any time by giving written notice to [Choice Financial]
     of such intention . . . [Bancrédito] shall, at its sole
     discretion, either wire transfer or mail a check to
     [Choice Financial] for the balance, if any, of funds in
     deposit in the Account.

(Docket No. 59, Ex. 4 at p. 2.)               Bancrédito had until July 10,

2018 to return the balance of deposited funds.                  (Docket No. 59 at

p. 4.)      Bancrédito requested that Choice Financial identify and

provide      documentation        regarding        the   individual      or   entity

authorized to receive the balance of funds in its account.                    Id. at

p. 5.      Choice Financial failed to provide Bancrédito with this

information.       Id.

             1.     Complaint for Interpleader

                    Choice Financial and Flowers presented competing

and adverse claims to the funds in Choice Financial’s account at

Bancrédito.       On July 10, 2018, Flowers contacted Bancrédito in his

capacity as Choice Bank’s liquidator and asserted ownership of all

remaining funds in Choice Financial’s account.                  (Docket No. 59 at

p. 7.)      The Central Bank of Belize provided Bancrédito with a

letter     confirming     that    Flowers     is    Choice     Bank’s    liquidator.

(Docket No. 41, Ex. 5.)           Although the letter referenced “on-going

litigation        with   Choice    Bank     Limited      and    Choice    Financial

International,” the Central Bank of Belize “made no mention of
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[Flowers’] purported authority over [Choice Financial].”                 (Docket

No. 41, Ex. 5 at p. 2; Docket No. 59 at p. 7.)

                    Choice Financial subsequently informed Bancrédito

that Choice Bank and Choice Financial are two separate legal

entities,     and   that    Bancrédito   “is    not   authorized   to    pay   the

balances in [Choice Financial’s] account to Choice Bank, Choice

Bank’s Liquidator or any other third party.”               (Docket No. 59 at

p. 8.)

                    Faced   with    competing   claims   over   the     remaining

$1,642,200.00 in Choice Financial’s account, Bancrédito filed a

complaint for interpleader against Flowers and Choice Financial.

(Docket No. 59.)        Bancrédito denied any “interest over the Balance

of Deposited Funds, and . . . simply sought to comply with its

obligation to release said funds to the rightful owner.”                  Id. at

p. 2.

      C.     Choice Bank Controls and Operates Choice Financial

             Flowers established that Choice Financial is controlled

and operated by Choice Bank, negating Choice Financial’s competing

claim over the $1,642,200.00.            (Docket No. 62.)       On August 15,

2018, Flowers removed Choice Financial’s directors and appointed

himself as the sole director.            (Docket No. 69, Ex. 2.)          Indeed,

the     Puerto   Rico      Office   of   the    Commissioner    of      Financial

Institutions (“OFCI”) confirmed that Choice Financial is a “wholly
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owned subsidiary of [Choice Bank].” 2                (Docket No. 69, Ex. 3 at

p. 1.)     The OFCI had:

       no objection to the appointment of [Flowers] as the sole
       Director of [Choice Financial] for the interim period
       during which [Choice Bank] continues its possession of
       the proprietary interests in [Choice Financial] and
       until such a time as [Choice Financial] is either sold
       or liquidated.

Id. at p. 2.         Flowers reiterated his request to withdraw Choice

Bank’s funds and that Bancrédito transfer the funds from Choice

Financials’ account.          (Docket Nos. 63 and 69.)         Flowers also moved

to dismiss Bancrédito’s complaint for interpleader, because Choice

Bank   and    Choice    Financial     “are    not    adverse    and    do    not   have

conflicting claims.”          (Docket No. 71 at p. 2.)

              Tellingly, Bancrédito refrained from opposing Flowers’

motions      to    withdraw   funds   and    to     dismiss    the    complaint    for

interpleader.        Flowers requested that the Court deem these motions

as unopposed.         (Docket No. 72.)        Bancrédito responded only that

Flowers “is not entitled to any [accrued] interests in this case.”

(Docket No. 73 at p. 2.) Flowers subsequently withdrew his request

for    “any       interests    that   could       have   accrued      over    [Choice

Financial’s] Funds and limit[ed] its request . . . to the interests

accrued over [Choice Bank’s] Funds since its consignment, as they



2 The Court adopts the Spanish acronym for the Office of the Commissioner of
Financial Institutions, referred to as the Oficina del Comisionado de
Instituciones Financieras.
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have been deposited in an interest-bearing account, pursuant to

Local Rule 67(b).”       (Docket No. 76 at p. 2.)

           Flowers is entitled to the funds deposited in Choice

Bank and Choice Financial’s accounts.                  Choice Bank failed to

overcome the liquidity crisis referred to in its motion for a

preliminary injunction, prompting the Bank of Belize to revoke its

banking license and to appoint Flowers as liquidator.                    See Docket

No. 4.   The Court is satisfied that Choice Financial is subject to

Flowers’ control as Choice Bank’s liquidator.                   Accordingly, the

Clerk of the Court will disburse the following amount that was

deposited into an interest-bearing account to Cedric D. Flowers:

$12,726,460.80.        The Court ORDERS Bancrédito to transfer the

$1,642,200.00 in Choice Financial’s account to Cedric D. Flowers

in his capacity as Choice Bank’s liquidator.

           The   causes    of     action     set   forth   by   Choice    Bank    and

Bancrédito are dismissed.             The United States Constitution grants

jurisdiction     to    federal    courts      to   adjudicate    live     cases   or

controversies.        U.S. CONST., art. III, § 2, cl. 1.               The case or

controversy    must    exist     at    all   stages   of   litigation     and    when

circumstances     change    removing         any   possibility    of     the    Court

providing effective relief, “the case or controversy is no longer

justiciable.”     See Matos v. Clinton Sch. Dist., 367 F.3d 68, 71-

72 (1st Cir. 2004) (dismissing claim for injunction to reinstate
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student from school suspension as moot because student had already

served the full suspension); Horizon v. Bank & Trust Co. v. Mass.,

391 F.3d 48, 51 (1st Cir. 2004) (“Because the Commonwealth has not

contested the distribution of funds, no case or controversy remains

as required by Article III of the United States Constitution and

we hold that the appeal must be dismissed as moot.”).                              This

litigation        centered     exclusively     on    the    withdrawal      of   funds

deposited in two accounts at Bancrédito.                  Because these funds are

no     longer     in     controversy,   the    complaint,      counterclaims       and

complaint for interpleader are DISMISSED.                    (Docket Nos. 1, 29

and 59.)

III. Conclusion

       For the reasons set forth above, Flowers’ motion to withdraw

the     balance     of     funds   deposited    in    Choice    Bank     and     Choice

Financial’s accounts is GRANTED.               (Docket No. 55.)        The Clerk of

the Court will disburse the following amount that was deposited

into     an     interest-bearing        account      to    Cedric      D.      Flowers:

$12,726,460.80, plus earned interest.                The Court ORDERS Bancrédito

to transfer the $1,642,200.00 in Choice Financial’s account to

Cedric D. Flowers, in his capacity as Choice Bank’s liquidator.

The remaining motions filed by Choice Bank are MOOT.                           (Docket

Nos. 4, 63, 69, 71 and 72.)              Bancrédito’s motion requesting an

order to show cause is also MOOT.             (Docket No. 41.)      The complaint,
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counterclaims, and complaint for interpleader are DIMISSED WITH

PREJUDICE.   (Docket Nos. 1, 29 and 59.)

     Judgment shall be entered accordingly.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, November 6, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
